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EXHIBIT A-3
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                                                                                         RECEIVED
     SKY         GLOBAL        LLC

     4476        Main    Street
     Suite       104

     Amherst,           NY     14226
     RYAN@Skyglobaljewelers.com


      INVOICE

     BILL        TO                                                                                                                                        INVOICE            0 2518

     William          Noble                                                                                                                                           DATE       10/09/2017

     William          Noble     Rare      Jewels                                                                                                          DUE         DATE       10/09/2017

     Bill Noble                                                                                                                                                   TERMS          Due   on receipt

     54 Highland              Park     Villiage

     Dallas,          TX 75205

     (214)         526-3890




      ACTMTY                                                                                                                    QTY                                           RATE                  AMOUNT

      Diamond                                                                                                                         1                             105,000.00                105,000.00
      Diamond           7.07ct        Oval     cut diamond      ring.   E Color,   SI2.    GIA
      Certificate         # 16443234.

      Misc                                                                                                                            1                                   1,000.00                  1,000.00
      20%         extremely          overdue       late fees   on balance      remaning      2/7/18

      Misc                                                                                                                            1                                   1,000.00                  1,000.00
      20%         extremely          overdue       late fees   on balance      remaining
      3/9/18


     ........_                                   ___________..__________............
                   ______________.....____ _______                                               ..........................................................................                               .

     1st payment is due by November 30, 2017                                                            PAYMENT                                                                               100,000.00
     2nd payment is due no later then December 24, 2017                                                 BALANCE                  DUE
                                                                                                                                                                                       $7,000.00

     FINAL SALE
FILED: ERIE COUNTY CLERK 04/19/2018 02:42 PM                                                                                        INDEX NO. 806234/2018
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     Suite       104

     Amherst,           NY        14226
     RYAN@Skyglobaljewelers.com


      IIMVQICE

                                                                                                                            4'
     BILL        TO                                                                                           INVOICE       # 2568

     William          Nob     e                                                                                     DATE        11/13/2017

     William          Noble        Rare    Jewels                                                             DUE   DATE        11/13/2017

     Bill Noble                                                                                                  TERMS          Due    on receipt

     54 Highland              Park      Villiage

     Dallas,          TX 75205

     (214)        526-3890




            I"
      ,â€”,
      A CTF       FEY                                                                                   QTY                 RATE                   AMOUNT

      Necklace                                                                                                      35,000.00                  35,000.00
                                                   - Gold
      1.) Buccellati              Necklace                    Leafs with Pearls. (with Box)
                                                                   - 18K Gold. MY COST.
      2.) Buccellati              Necklace         (with    box)
      (Two        necklaces          total)

      Shipping                                                                                            1                 75.00                       75.00

      Shipping          and        Handling
      Misc                                                                                                1             3,515.00                    3,515.00
      20%        Extremely           overdue        late fees    on balance   remaining
      2/7/18

      Misc                                                                                                1             3,515.00                    3,515.00
      20%        Extremely           overdue        late fees    on balance   remaining
      3/9/18




     These are my costs. Please send check or wire for half the cost.                         PAYMENT                                          17,500.00
     SPLIT PROFIT ON SALE.                                                                    BALANCE   DUE
                                                                                                                                      $24,605.00         8

     FIRAL SALE
     FINAL
FILED: ERIE COUNTY CLERK 04/19/2018 02:42 PM                                                                           INDEX NO. 806234/2018
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     4476       Main    Street
     Suite      104

     Amherst,          NY     14226
     RYAN@Skyglobaljewelers.com


      INVOICE

      BILL      TO                                                                                INVOICE       0 2602

      William        Noble                                                                               DATE      12/07/2017

      William        Noble     Rare     Jewels                                                    DUE    DATE      12/07/2017

      Bill Noble                                                                                        TERMS      Due   on receipt

     54 Highland             Park    Villiage

      Dallas,     TX    75205

      (214)      526-3890




      ACTIVITY
      -!.                                                                                   QTY                 RATE                  AMOUNT

      Cartler                                                                                 1           5,871.00                    5,871.00
      CARTIER           Love        Bracelet.     Yellow     Gold.   Size   17.

      Misc                                                                                    1             1,174.20                  1,174.20
      20%                           overdue      late fees    - 2/7/17
                Extremely
      Misc                                                                                    1             1,174.20                  1,174.20
      20%                           overdue      late fees    -â€”
                                                                3/9/18
                Extremely




     FINAL SALE                                                                   BALANCE   DUE
                                                                                                                         $8,219.40
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     4476      Main    Street
     Suite     104

     Amherst,         NY     14226
     RYAN@Skyglobaljewelers.com


      INVOICE

     BILL      TO                                                                                              INVOICE       # 2612

     William        Noble                                                                                            DATE       12/15/2017

     William        Noble     Rare     Jewels                                                                  DUE   DATE       12/15/2017

     Bill Noble                                                                                                   TERMS         Due    on receipt

     54 Highland            Park    Villiage

     Dallas,     TX 75205

     (214)      526-3890




      ACTIVITY
      ,;0                                                                                                QTY                 RATE                   AMOUNT

      Cartier                                                                                              1         23,655.00                 23,655.00
      CARTIER          Small        Rose       Gold     Love   Bracelet    with    diamonds.
      Serial     # DTD256            Retail:$24,900.00

      Cartier                                                                                              1         25,365.00                 25,365.00
      CARTIER          Small        White       Gold    Love   Bracelet     with   diamonds.
      Serial     # DTP415.            Retail:     $26,700.00

      Shipping                                                                                             1               155.00                     155.00

      Shipping        and     Handling
      Mlso                                                                                                 1             9,835.00                   9,835.00
      20%       Extremely          overdue       late   fees   2/7/18

      Mlso                                                                                                 1             1,802.00                   1,802.00
      20%       Extremely          overdue       late fees     3/9/18     on balance

      remaining




     FINAL SALE                                                                                PAYMENT                                         50,000.00

                                                                                               BALANCE   DUE
                                                                                                                                      $10,812.00
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     4476       Main      Street
     Suite      104

     Amherst,          NY      14226
     RYAN@Skyglobaijewelers.com



      IKIVOIC
          "j                       E

      BILL      TO                                                                                            INVOICE       0    2585

      William        Noble                                                                                           DATE        11/21/2017

      William        Noble      Rare     Jewels                                                               DUE    DATE        11/21/2017

      Bill Noble                                                                                                 TERMS           Due    on receipt

      54 Highland            Park      Villiage

      Dallas,     TX 75205

      (214)      526-3890




                     FY                                                                                 't'
      ACTiVi
      .'-,                                                                                           QTY                    RATE                     AMOUNT


      Jewelry                                                                                            1          165,000.00                 165,000.00
      Jewelry          Items

      Misc                                                                                               1           15,000.00                  15,000.00
      Additional          amount        due       for late over     3 weeks.12/27/17

      Misc                                                                                               1           16,500.00                  16,500.00
      Additional          amount        due       for late   over   2 months.    1/31/18

      Misc                                                                                               1           16,500.00                  16,500.00
      Additional          amount        due       for late   over   4 months    3/9/18




     Must have wire by Friday December 1, 2017.                                            BALANCE   DUE                                       QQA       hh
                                                                                                                                                         QA
                                                                                                                                  $2)3
                                                                                                                                  $2)      3   QQQ
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     SKY     GLOBAL           LLC

     4476      Main     Street
     Suite     104

     Amherst,         NY      14226
     RYAN@Skyglobaljewelers.com


      INVOICE

     BILL      TO                                                                                     INVOICE       0 2586

     William         Noble                                                                                   DATE        11/21/2017

     William         Noble     Rare    Jewels                                                         DUE    DATE        11/21/2017

     Bill Noble                                                                                          TERMS           Due   on receipt

     54 Highland             Park   Villiage

     Dallas,        TX 75205

     (214)      526-3890




      -',i'                                                                                                                             ANIOUNT
      ACTIVITY                                                                                  QTY                 RATE


      Jewelry                                                                                     1         165,000.00                165,000.00

      Jewelry         items

      Misc                                                                                        1          15,000.00                 15,000.00
      Additional        amount        due      for over   3 weeks.12/27/17

      Misc                                                                                        1          16,500.00                 16,500.00
      Additional        amount        due      for over   2 months.    1/31/18

      Misc                                                                                        1          16,500.00                 16,500.00
      Additional        amount        due      for over   3 months    late   3/9/18




               WIRE BY FRiDAY,
     MUST HAVE WiRE    FRIOAY, DECEMBER                         1st, 2017
                                                                1St,                  BALANCE   DUE
                                                                                                                          $213        000     500
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     SKY      GLOBAL                   LLC

     4476       Main          Street
     Suite      104

     Amherst,           NY          14226
     RYAN@Skyglobaljewelers.com

                  t'
      INVOICE)
                                                                                                                                      4'
      BILL      TO                                                                                                      INVOICE       # 2640

      William        Noble                                                                                                    DATE       01/11/2018

     William         Noble             Rare     Jewels                                                                  DUE   DATE       01/11/2018

      Bill Noble                                                                                                           TERMS         Due   on receipt

      54 Highland                  Park      Villiage

      Dallas,     TX 75205

      (214)      526-3890




                       '('
      ACTIVITY                                                                                                    QTY                 RATE              AMOUNT

      Cartier                                                                                                       1          5,796.00                 5,796.00
      CARTIER                  18K      Yellow          Gold   Love   Bracelet.   Size     18. Serial
      FJA568.                Retail:      $6,300.00

      Shipping                                                                                                      1                60.00                     60.00

      Shipping               and       Handling
      Misc                                                                                                          1               579.60                    579.60
      10%       late         fee for 30 days              overdue.     2/12/18

      Misc                                                                                                          1             1,159.20                  1,159.20
      20%       late fees              for almost         60 days     overdue.    3/9/18




     FINAL SALE                                                                                         BALANCE   DUE
                                                                                                                                               $7„5S4.80
                                                                                                                                               $7„594.80
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         SKY     GLOBAL           LLC

         4476      Main     Street
         Suite     104

         Amherst,          NY     14226
         RYAN@Skyglobaljewelers.com


          INVOICE

         BILL      TO                                                                                                                                     INVOICE              # 2656

         William        Noble                                                                                                                                           DATE     02/01/2018

         William         Noble     Rare       Jewels                                                                                                     DUE            DATE     02/01/2018

         Bill Noble                                                                                                                                             TERMS             Due   on receipt

         54 Highland             Park     Villiage

         Dallas,      TX    75205

         (214)       526-3890




          ACTlVITY                                                                                                                QTY                                          RATE                  AMOUNT


          Cartier                                                                                                                   1                                    1,738.80                    1,738.80
          CARTIER           - 18k white             gold                    love         earrings.    Serial    #
                                                                baby
          FFZ953.

          Cartler                                                                                                                   1                                    1,628.40                    1,628.40
          CARTIER           - 18k       yellow         gold                   love        earrings.    Serial       #
                                                                  baby
          EEO325.

                                                                                                                                    1                                          60.00                     60.00
          Shipping
          Shipping         and     Handling
          Miso                                                                                                                      1                                      673.44                      673.44
          20%       late   fees      for overdue.               3/9/18
.                                                                                                                                                                                                                ...
                                        ..............................................                                                  .............................

          RNAL SALE                                                                                                     BALANCE   DUE
                                                                                                                                                                                         $4,100.64
